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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             November 2021 Grand Jury

11   UNITED STATES OF AMERICA,               CR      2:22-cr-00120-ODW

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(B)(iii): Possession with
14   BRANDON EMMANUEL BROWN,                 Intent to Distribute Cocaine Base
       aka “Hitman,”                         in the Form of Crack Cocaine;
15     aka “Lil B,”                          21 U.S.C. §§ 841(a)(1), (b)(1)(C):
       aka “Mr. BB,”                         Possession with Intent to
16                                           Distribute Cocaine; 18 U.S.C.
                                             §§ 924(c)(1)(A)(i), (B)(ii):
17                                           Possession of Firearms and a
               Defendant.                    Machinegun in Furtherance of Drug
18                                           Trafficking Crimes; 18 U.S.C.
                                             § 922(g)(1): Felon in Possession
19                                           of a Firearm and Ammunition;
                                             18 U.S.C. § 922(o)(1): Possession
20                                           of a Machinegun; 26 U.S.C.
                                             § 5861(d): Possession of an
21                                           Unregistered Firearm; 26 U.S.C.
                                             § 5861(i): Possession of a Firearm
22                                           Not Identified by a Serial Number;
                                             21 U.S.C. § 853, 18 U.S.C. § 924,
23                                           26 U.S.C. § 5872, and 28 U.S.C.
                                             § 2461(c): Criminal Forfeiture]
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26        The Grand Jury charges:
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 1                                     COUNT ONE

 2                   [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(iii)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   and intentionally possessed with intent to distribute at least

 7   28 grams, that is, approximately 74.5 grams, of a mixture and

 8   substance containing a detectable amount of cocaine base in the form

 9   of crack cocaine, a Schedule II narcotic drug controlled substance.

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 1                                     COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   and intentionally possessed with intent to distribute cocaine, a

 7   Schedule II narcotic drug controlled substance.

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 1                                    COUNT THREE

 2                    [18 U.S.C. §§ 924(c)(1)(A)(i), (B)(ii)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   possessed firearms, namely, a Taurus, model G2C, 9mm semi-automatic

 7   pistol, bearing serial number TL056385, and an M-16-type, .300

 8   Blackout caliber rifle, bearing no serial number (commonly referred

 9   to as a “ghost gun”), and which defendant BROWN knew to be a

10   machinegun, in furtherance of drug trafficking crimes, namely,

11   possession with intent to distribute cocaine base in the form of

12   crack cocaine, in violation of Title 21, United States Code, Sections

13   841(a)(1), (b)(1)(B)(iii), as charged in Count One of this

14   Indictment, and possession with intent to distribute cocaine, in

15   violation of Title 21, United States Code, Sections 841(a)(1),

16   (b)(1)(C), as charged in Count Two of this Indictment.

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 1                                     COUNT FOUR

 2                             [18 U.S.C. § 922(g)(1)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   possessed a firearm, namely, a Taurus, model G2C, 9mm semi-automatic

 7   pistol, bearing serial number TL056385, and ammunition, namely,

 8   approximately 100 rounds of Remington 0.30 Carbine caliber

 9   ammunition, 92 rounds of Winchester 9mm ammunition, 58 rounds of CBC

10   .300 Blackout caliber ammunition, 49 rounds of Tulammo 9mm

11   ammunition, 47 rounds of Hornady .300 Blackout caliber ammunition, 40

12   rounds of PMP 7.62mm ammunition, 20 rounds of Remington .308

13   Winchester caliber ammunition, 10 rounds of CCI .38 Special caliber

14   ammunition, two rounds of Federal 9mm ammunition, two rounds of Speer

15   9mm ammunition, and one round of Aguila 9mm ammunition, in and

16   affecting interstate and foreign commerce.

17        Defendant BROWN possessed such firearm and ammunition knowing

18   that he had previously been convicted of at least one of the

19   following felony crimes, each punishable by a term of imprisonment

20   exceeding one year:

21        1.    Possession of Controlled Substances for Sale, in violation

22   of California Health & Safety Code Section 11351.5, in the Superior

23   Court of the State of California, County of Los Angeles, Case Number

24   BA291213, on or about December 1, 2005;

25        2.    Possession of Contraband in Jail, in violation of

26   California Penal Code Section 4573.6, in the Superior Court of the

27   State of California, County of Los Angeles, Case Number PA051303, on

28   or about December 8, 2005;
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 1        3.    Possession of a Weapon in Jail or Prison, in violation of

 2   California Penal Code Section 4574(a), in the Superior Court of the

 3   State of California, County of Los Angeles, Case Number BA332218, on

 4   or about July 9, 2008;

 5        4.    Attempted Robbery in the Second Degree, in violation of

 6   California Penal Code Sections 664 and 211, in the Superior Court of

 7   the State of California, County of Los Angeles, Case Number SA058103,

 8   on or about July 10, 2008;

 9        5.    Possession of a Weapon in a Penal Institution, in violation

10   of California Penal Code Section 4502(a), in the Superior Court of

11   the State of California, County of Los Angeles, Case Number BA343192,

12   on or about October 23, 2008;

13        6.    Possession of Controlled Substances for Sale, in violation

14   of California Health & Safety Code Section 11352(a), in the Superior

15   Court of the State of California, County of Los Angeles, Case Number

16   BA410799, on or about January 6, 2014; and

17        7.    Possession of a Firearm by a Convicted Felon, in violation

18   of California Penal Code Section 29800(a)(1), in the Superior Court

19   of the State of California, County of Los Angeles, Case Number

20   SA099415, on or about December 5, 2018.

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 1                                     COUNT FIVE

 2                             [18 U.S.C. § 922(o)(1)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   possessed a machinegun, as defined in Title 18, United States Code,

 7   Section 921(a)(23), and Title 26, United States Code, Section

 8   5845(b), namely, an M-16-type, .300 Blackout caliber rifle, bearing

 9   no serial number (commonly referred to as a “ghost gun”), which

10   defendant BROWN knew to be a machinegun.

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 1                                     COUNT SIX

 2                              [26 U.S.C. § 5861(d)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   possessed a firearm, namely, an M-16-type, .300 Blackout caliber

 7   rifle, bearing no serial number (commonly referred to as a “ghost

 8   gun”), with a barrel of less than 16 inches in length, namely,

 9   approximately 7 5/8 inches in length, which defendant BROWN knew to

10   be a firearm and a short-barreled rifle, as defined in Title 26,

11   United States Code, Sections 5845(a)(3) and 5845(c), and which had

12   not been registered to defendant BROWN in the National Firearms

13   Registration and Transfer Record, as required by Title 26, United

14   States Code, Chapter 53.

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 1                                    COUNT SEVEN

 2                              [26 U.S.C. § 5861(i)]

 3        On or about September 1, 2020, in Los Angeles County, within the

 4   Central District of California, defendant BRANDON EMMANUEL BROWN,

 5   also known as (“aka”) “Hitman,” aka “Lil B,” aka “Mr. BB,” knowingly

 6   possessed a firearm, namely, an M-16-type, .300 Blackout caliber

 7   rifle, bearing no serial number (commonly referred to as a “ghost

 8   gun”), with a barrel of less than 16 inches in length, namely,

 9   approximately 7 5/8 inches in length, which defendant BROWN knew to

10   be a firearm and a short-barreled rifle, as defined in Title 26,

11   United States Code, Sections 5845(a)(3) and 5845(c), and which was

12   not identified by serial number, as required by Title 26, United

13   States Code, Chapter 53.

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 1                             FORFEITURE ALLEGATION ONE

 2             [21 U.S.C. § 853; 18 U.S.C. § 924; 28 U.S.C. § 2461(c)]

 3        1.     Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853, Title 18, United States Code,

 7   Section 924, and Title 28, United States Code, Section 2461(c), in

 8   the event of the defendant’s conviction of the offenses set forth in

 9   either of Counts One or Two of this Indictment.

10        2.     The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               (a)   All right, title and interest in any and all property,

13   real or personal, constituting or derived from, any proceeds which

14   the defendant obtained, directly or indirectly, from such offense,

15   including, but not limited to, $616 in U.S. currency that was seized

16   from defendant on or about September 1, 2020;

17               (b)   All right, title and interest in any and all property,

18   real or personal, used, or intended to be used, in any manner or

19   part, to commit, or to facilitate the commission of such offense;

20               (c)   All right, title, and interest in any firearm or

21   ammunition involved in or used in such offense, including, but not

22   limited to, the following:

23                     i.    One Taurus, model G2C, 9mm semi-automatic pistol,

24   bearing serial number TL056385;

25                     ii.   One M-16-type, .300 Blackout caliber rifle,

26   bearing no serial number (commonly referred to as a “ghost gun”);

27                     iii. 100 rounds of Remington 0.30 Carbine caliber

28   ammunition;
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 1                    iv.   92 rounds of Winchester 9mm ammunition;

 2                    v.    58 rounds of CBC .300 Blackout caliber

 3   ammunition;

 4                    vi.   49 rounds of Tulammo 9mm ammunition;

 5                    vii. 47 rounds of Hornady .300 Blackout caliber

 6   ammunition;

 7                    viii.40 rounds of PMP 7.62mm ammunition;

 8                    ix.   20 rounds of Remington.308 Winchester caliber

 9   ammunition;

10                    x.    10 rounds of CCI .38 Special caliber ammunition;

11                    xi.   two rounds of Federal 9mm ammunition;

12                    xii. two rounds of Speer 9mm ammunition;

13                    xiii. one round of Aguila 9mm ammunition; and

14              (d)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraphs (a), (b), and (c).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   and as incorporated by Title 28, United States Code, Section 2461(c),

19   the defendant, if so convicted, shall forfeit substitute property if,

20   by any act or omission of the defendant, the property described in

21   the preceding paragraph, or any portion thereof: (a) cannot be

22   located upon the exercise of due diligence; (b) has been transferred,

23   sold to, or deposited with a third party; (c) has been placed beyond

24   the jurisdiction of the court; (d) has been substantially diminished

25   in value; or (e) has been commingled with other property that cannot

26   be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2                 [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts Three through Five of this

 9   Indictment.

10        2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any firearm or

13   ammunition involved in or used in such offense; and

14              (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), the

19   defendant, if so convicted, shall forfeit substitute property, up to

20   the value of the property described in the preceding paragraph if, as

21   the result of any act or omission of the defendant, the property

22   described in the preceding paragraph or any portion thereof (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to, or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

26   substantially diminished in value; or (e) has been commingled with

27   other property that cannot be divided without difficult.

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 1                           FORFEITURE ALLEGATION THREE

 2                    [26 U.S.C. § 5872 and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 26,

 6   United States Code, Section 5872 and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offenses set forth in either of Counts Six or Seven of this

 9   Indictment.

10        2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)    All right, title, and interest in any firearm involved

13   in any such offense; and

14              (b)    To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), the

19   defendant, if so convicted, shall forfeit substitute property, up to

20   the value of the property described in the preceding paragraph if, as

21   the result of any act or omission of the defendant, the property

22   described in the preceding paragraph or any portion thereof

23   (a) cannot be located upon the exercise of due diligence; (b) has

24   been transferred, sold to, or deposited with a third party; (c) has

25   been placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3                                            A TRUE BILL
 4                                                    /S/
 5                                            Foreperson

 6   TRACY L. WILKISON
     United States Attorney
 7

 8

 9   SCOTT M. GARRINGER
     Assistant United States Attorney
10   Chief, Criminal Division

11   JOSHUA O. MAUSNER
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12   Deputy Chief, General Crimes
     Section
13

14   ANDREW M. ROACH
     Assistant United States Attorney
15   Cyber & Intellectual Property
     Crimes Section
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